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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

 ANTHONY S. ROBINSON,

        Plaintiff,                                                      ORDER
 v.
                                                               Case No. 23-cv-640-jdp
 JOSEPH L. SOMMERS, et al.

        Defendants.


       Plaintiff Anthony S. Robinson has filed a proposed civil complaint and requested leave

to proceed without prepaying the filing fee. To evaluate plaintiff’s request to proceed without

prepayment of the filing fee, I must review a certified copy of plaintiff’s inmate trust fund

account statement (or institutional equivalent) for the six-month period immediately preceding

the filing of the complaint. 28 U.S.C. § 1915(a)(2).

       For this case to proceed, plaintiff must submit the certified trust fund account statement

no later than October 10, 2023. If I find that plaintiff is indigent, I will calculate an initial

partial payment amount that must be paid before the court can screen the merits of the

complaint under 28 U.S.C. § 1915(e)(2). Thereafter, plaintiff will be required to pay the

balance of the filing fee in installments.




                                             ORDER

       IT IS ORDERED that plaintiff Anthony S. Robinson may have until October 10, 2023

to submit a trust fund account statement for the period beginning approximately March 15,

2023 and ending approximately September 15, 2023. If, by October 10, 2023, plaintiff fails
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to respond to this order, I will assume that plaintiff wishes to withdraw this action voluntarily.

In that event, the case will be closed without prejudice to plaintiff filing the case at a later date.




               Entered this 15th day of September, 2023.

                                       BY THE COURT:


                                       /s/
                                       ANDREW R. WISEMAN
                                       United States Magistrate Judge
